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                   EXHIBIT 5
2/10/22, 11:56 AM          Case 1:03-cv-09848-GBD-SN  Document
                                                  AFNUSD=X           599-5
                                                           0.0108 0.0002 1.483 :Filed 03/20/22
                                                                                AFN/USD             Page 2 of 2
                                                                                        - Yahoo Finance

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   AFN/USD (AFNUSD=X)                                          Add to watchlist                                                                           Quote Lookup
   CCY - CCY Delayed Price. Currency in USD



   0.0108 +0.0002                                   (+1.4830%)
   As of 04:55PM GMT. Market open.


     Summary           Chart       Conversations           Historical Data




     Time Period: Nov 30, 2020 - Dec 29, 2020                              Show: Historical Prices

      Frequency: Daily                                                                                                                Apply



   Currency in USD                                                                                                                      Download

   Date                                  Open                 High                  Low                Close*           Adj Close**           Volume

                                                                                                                                                        People Also Watch
   Dec 30, 2020                        0.0130             0.0130               0.0129               0.0130                0.0130                   -
                                                                                                                                                        Symbol            Last Price     Change        % Change
   Dec 29, 2020                        0.0129             0.0130               0.0129               0.0130                0.0130                   -
                                                                                                                                                        AFN=X            91.9600       -1.3600 -1.4574%
                                                                                                                                                        USD/AFN
   Dec 28, 2020                        0.0131             0.0131               0.0129               0.0131                0.0131                   -
                                                                                                                                                        AOAUS…             0.0019      +0.0000         +0.03%
   Dec 25, 2020                        0.0131             0.0131               0.0131               0.0130                0.0130                   -    AOA/USD

                                                                                                                                                        BGNUS…             0.5849      +0.0002         +0.04%
   Dec 24, 2020                        0.0131             0.0131               0.0130               0.0130                0.0130                   -    BGN/USD


   Dec 23, 2020                        0.0130             0.0131               0.0130               0.0130                0.0130                   -
                                                                                                                                                        AFNBR…             0.0565      +0.0001 +0.2660%
                                                                                                                                                        AFN/BRX

   Dec 22, 2020                        0.0130             0.0131               0.0130               0.0130                0.0130                   -    AWGUS…             0.5555       0.0000     0.0000%
                                                                                                                                                        AWG/USD
   Dec 21, 2020                        0.0131             0.0131               0.0130               0.0130                0.0130                   -

   Dec 18, 2020                        0.0131             0.0131               0.0130               0.0130                0.0130                   -
                                                                                                                                                                 Data Disclaimer Help Suggestions
   Dec 17, 2020                        0.0129             0.0131               0.0129               0.0130                0.0130                   -                   Privacy Dashboard
                                                                                                                                                            Privacy (Updated) About Our Ads Terms
   Dec 16, 2020                        0.0129             0.0130               0.0129               0.0130                0.0130                   -                  (Updated) Sitemap

   Dec 15, 2020                        0.0131             0.0131               0.0129               0.0130                0.0130                   -              © 2022 Yahoo. All rights reserved.

   Dec 14, 2020                        0.0131             0.0131               0.0130               0.0130                0.0130                   -

   Dec 11, 2020                        0.0132             0.0132               0.0131               0.0130                0.0130                   -

   Dec 10, 2020                        0.0131             0.0131               0.0130               0.0130                0.0130                   -

   Dec 09, 2020                        0.0132             0.0132               0.0130               0.0130                0.0130                   -

   Dec 08, 2020                        0.0131             0.0132               0.0130               0.0130                0.0130                   -

   Dec 07, 2020                        0.0131             0.0131               0.0130               0.0130                0.0130                   -

   Dec 04, 2020                        0.0131             0.0131               0.0130               0.0130                0.0130                   -

   Dec 03, 2020                        0.0132             0.0132               0.0130               0.0130                0.0130                   -

   Dec 02, 2020                        0.0132             0.0132               0.0130               0.0130                0.0130                   -

   Dec 01, 2020                        0.0131             0.0131               0.0130               0.0130                0.0130                   -

   *Close price adjusted for splits.     **Adjusted close price adjusted for splits and dividend and/or capital gain distributions.




https://finance.yahoo.com/quote/AFNUSD%3DX/history?period1=1606780800&period2=1609286400&interval=1d&filter=history&frequency=1d&includ… 1/1
